



                                                                    



IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                        





NO. 3-92-045-CV





C. J. B.,



	APPELLANT


vs.





THE STATE OF TEXAS,



	APPELLEE



                        




FROM THE COUNTY COURT AT LAW NO. 1 OF BELL COUNTY,



NO. 5614, HONORABLE EDWARD S. JOHNSON, JUDGE



                        




PER CURIAM


	This is a dismissal for want of prosecution.

	Generally, an appellant must file his brief within thirty days after the filing of the
transcript and statement of facts, if any.  Tex. R. App. P. Ann. 74(k) (Pamph. 1992).  If the
appellant fails to file his brief within the prescribed time, the appellate court may dismiss the
appeal for want of prosecution, unless the appellant shows a reasonable explanation for failing to
file the brief and the appellee has not suffered material injury.  Tex. R. App. P. Ann. 74(l)(1). 
(Pamph. 1992).

	The transcript in this cause was filed on January 29, 1992.  Accordingly,
appellant's brief was due thirty days later, on February 28, 1992.  Appellant has not filed his
brief.  Moreover, appellant has not filed a motion for extension of time showing a reasonable
explanation for his omission.  See Tex. R. App. P. Ann. 74(n) (Pamph. 1992).  Accordingly, we
dismiss this appeal for want of prosecution.  See Dickson v. Dickson, 541 S.W.2d 895 (Tex. Civ.
App. 1976, writ dism'd w.o.j.).



[Before Chief Justice Carroll, Justices Aboussie and B. A. Smith]

Dismissed for Want of Prosecution

Filed:  April 15, 1992

[Do Not Publish]


